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 8                                UNITED STATES DISTRICT COURT
 9                               CENTRAL DISTRICT OF CALIFORNIA
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11   BHAVIN PATEL, et al.,                          CV 24-493 PA (PDx)
12                 Plaintiffs,                      JUDGMENT
13          v.
14   CITY OF LOS ANGELES,
15                 Defendant.
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17
            Pursuant to the Court’s April 4, 2024 Minute Order granting Defendant City of
18
     Los Angeles’ Motion to Dismiss Plaintiffs Bhavin Patel and Jerubha Life LLC’s
19
     (collectively “Plaintiffs”) First Amended Complaint with leave to amend, Plaintiffs’ Notice
20
     to Stand on First Amended Complaint and Not Amend, and the Court’s April 29, 2024
21
     Minute Order dismissing the federal claims filed by Plaintiffs and declining to exercise
22
     supplemental jurisdiction over the remaining state law claim asserted by Plaintiffs;
23
            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that judgment is
24
     entered in favor of Defendant City of Los Angeles on Plaintiffs’ first, second, third, fourth,
25
     fifth, sixth, and seventh claims.
26
            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED, that the Court
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     declines to exercise supplemental jurisdiction over Plaintiffs’ remaining state law claim, and
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     that claim is dismissed without prejudice. See 28 U.S.C. § 1367(c)(3).
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 1        Defendant City of Los Angeles is awarded its costs of suit.
 2        IT IS SO ORDERED.
 3
 4   DATED: April 29, 2024                            _________________________________
                                                                 Percy Anderson
 5                                                      UNITED STATES DISTRICT JUDGE
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